 8:17-cr-00237-LSC-SMB             Doc # 30    Filed: 09/26/17     Page 1 of 1 - Page ID # 50



                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                       8:17CR237

       vs.
                                                                         ORDER
JUAN JOSE SILVA-CASTANEDA and JOSE
MARIN-ARANDA ,

                      Defendant.



       This matter is before the court on the defendant’s unopposed Amended Motion to
Continue Trial [29]. Counsel is seeking additional time to prepare for trial. In addition, counsel
has a scheduling conflict during the week that trial is currently scheduled. Defendant shall
comply with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the unopposed Motion to Continue Trial [28] is denied as moot
and the unopposed Amended Motion to Continue Trial [29] is granted as follows:

     1. The jury trial, as to both defendants, now set for October 3, 2017 is continued to
November 7, 2017.

      2. The defendant shall file an affidavit required by paragraph 9 of the progression order
and NE.CrimR 12.1(a) forthwith.

         3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between today’s date and November 7, 2017, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act. Failure to grant a
continuance would deny counsel the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).


       Dated this 26th day of September, 2017.


                                              BY THE COURT:

                                              s/Susan M. Bazis
                                              United States Magistrate Judge
